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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

GARETH PARKS                                  *

                              Plaintiff,      *
       v.
                                              *      Civil No.: 1:18-cv-03092-TDC
BALTIMORE POLICE
DEPARTMENT, et al.,
                                              *

                              Defendants. *
*      *         *     *      *     *     *          *       *       *       *      *

                                             ORDER

       Upon consideration of the Baltimore Police Department’s Consent Motion to Extend

Time in Which to File a Reply to Plaintiff’s Opposition to its Motion to Dismiss, it is this

_______ day of March, 2019:

       ORDERED that the aforementioned Consent Motion is GRANTED; and it is further

       ORDERED that the deadline upon which Defendant Baltimore Police Department shall

file a Reply to Plaintiff’s Opposition to its Motion to Dismiss is extended up to and including

April 8, 2019.



                                                     ______________________________
                                                     The Honorable Theodore D. Chuang
                                                     United States District Court for the
                                                     District of Maryland
